             Case 23-40708-mxm11                            Doc 1       Filed 03/13/23 Entered 03/13/23 16:02:07                              Desc Main
                                                                       Document Page 1 of 12
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Northern District of Texas


 Case number (if known):                                            Chapter     11                                                      ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Top Sports Production LLC



    2. All other names debtor used                Top Sports Production
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8      4 – 3     1   5    4   9    7   9
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                   1805 Owen Ct. Suite 109
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                   Mansfield, TX 76063
                                                  City                                   State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                   Tarrant                                                      Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)                     www.topsportsproduction.com



    6. Type of debtor                             ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
            Case 23-40708-mxm11                       Doc 1          Filed 03/13/23 Entered 03/13/23 16:02:07                                  Desc Main
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Debtor      Top Sports Production LLC                                                                            Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ✔
                                                      ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
              Case 23-40708-mxm11                   Doc 1          Filed 03/13/23 Entered 03/13/23 16:02:07                                    Desc Main
                                                                  Document Page 3 of 12
Debtor        Top Sports Production LLC                                                                          Case number (if known)
             Name


  11. Why is the case filed in this       Check all that apply:
      district?
                                          ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          ❑
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have         ✔ No
                                          ❑
      possession of any real
      property or personal property
                                          ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
      attention?                                    ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard?


                                                    ❑     It needs to be physically secured or protected from the weather.
                                                    ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                          (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                          options).
                                                    ❑     Other
                                                    Where is the property?
                                                                               Number         Street




                                                                               City                                           State       ZIP Code
                                                    Is the property insured?
                                                    ❑ No
                                                    ❑ Yes.        Insurance agency
                                                                  Contact name
                                                                  Phone

          Statistical and administrative information

         13. Debtor’s estimation of       Check one:
             available funds?             ✔ Funds will be available for distribution to unsecured creditors.
                                          ❑
                                          ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                             creditors.

         14. Estimated number of
                                           ✔
                                           ❑    1-49 ❑ 50-99                  ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                     ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets
                                           ✔
                                           ❑    $0-$50,000                       ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                           ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                           ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                           ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
               Case 23-40708-mxm11                    Doc 1        Filed 03/13/23 Entered 03/13/23 16:02:07                                     Desc Main
                                                                  Document Page 4 of 12
Debtor        Top Sports Production LLC                                                                             Case number (if known)
             Name



                                            ❑    $0-$50,000                            ✔
                                                                                       ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     03/13/2023
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Adrian Allsman                                                   Printed name
                                                                                                                                          Adrian Allsman
                                                    Signature of authorized representative of debtor


                                                    Title                        Manager



         18. Signature of attorney
                                                ✘                        /s/ Robert C Lane                             Date      03/13/2023
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Robert C Lane
                                                    Printed name

                                                     The Lane Law Firm
                                                    Firm name

                                                     6200 Savoy Dr Ste 1150
                                                    Number          Street


                                                     Houston                                                              TX              77036-3369
                                                    City                                                                 State            ZIP Code



                                                     (713) 595-8200                                                        notifications@lanelaw.com
                                                    Contact phone                                                         Email address



                                                     24046263                                                              TX
                                                    Bar number                                                            State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
            Case 23-40708-mxm11                      Doc 1       Filed 03/13/23 Entered 03/13/23 16:02:07                               Desc Main
Official Form 201A (12/15)                                      Document Page 5 of 12
        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant
        to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code,
        this Exhibit "A" shall be completed and attached to the petition.]

                                                                      [Caption as in Form 416B]

                                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                                             Bankruptcy under Chapter 11

                1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number is
                               .

                2. The following financial data is the latest available information and refers to the debtor's condition on                     .

                 a. Total assets                                                                                                   $35,552.00
                 b. Total debts (including debts listed in 2.c., below)                                                        $3,862,449.00
                 c. Debt securities held by more than 500 holders

                                                                                                                                   Approximate
                                                                                                                                   number of
                                                                                                                                   holders:
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 d. Number of shares of preferred stock
                 e. Number of shares common stock

                Comments, if any:


                                                                 Sports Advertising
                3. Brief description of debtor's business



                 4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
        securities of debtor:




Official Form 201A                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
              Case 23-40708-mxm11                       Doc 1       Filed 03/13/23 Entered 03/13/23 16:02:07                                    Desc Main
                                                                   Document Page 6 of 12
 Fill in this information to identify the case:

 Debtor name                          Top Sports Production LLC

 United States Bankruptcy Court for the:
                                Northern District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Diesel Funding LLC                                                      Merchant Cash           Disputed                                                    $262,325.00
      1100 NE 163rd St Suite 404                                              Advance
      Miami, FL 33162


2     Maison Capital Group Inc.                                               Merchant Cash           Disputed                                                $3,032,023.00
      560 SYLVAN AVE STE 3020                                                 Advance
      Englewood Cliffs, NJ 07632


3     Maison Capital Group Inc.                                               Merchant Cash           Disputed                                                    $134,910.00
      560 SYLVAN AVE STE 3020                                                 Advance
      Englewood Cliffs, NJ 07632


4     Maison Capital Group Inc.                                               Merchant Cash           Disputed                                                    $104,930.00
      560 SYLVAN AVE STE 3020                                                 Advance
      Englewood Cliffs, NJ 07632


5     Maison Capital Group Inc.                                               Merchant Cash           Disputed                                                     $59,960.00
      560 SYLVAN AVE STE 3020                                                 Advance
      Englewood Cliffs, NJ 07632


6     Maison Capital Group Inc.                                               Merchant Cash           Disputed                                                     $49,467.00
      560 SYLVAN AVE STE 3020                                                 Advance
      Englewood Cliffs, NJ 07632


7     Maison Capital Group Inc.                                               Merchant Cash           Disputed                                                     $16,489.00
      560 SYLVAN AVE STE 3020                                                 Advance
      Englewood Cliffs, NJ 07632


8     Mercury Funding                                                         Merchant Cash           Disputed                                                    $164,890.00
      60 Park Ave.                                                            Advance
      Lakewood, NJ 08701



Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
              Case 23-40708-mxm11                   Doc 1       Filed 03/13/23 Entered 03/13/23 16:02:07                                  Desc Main
                                                               Document Page 7 of 12
Debtor       Top Sports Production LLC                                                                        Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     Mercury Funding                                                     Merchant Cash           Disputed                                                 $37,455.00
      60 Park Ave.                                                        Advance
      Lakewood, NJ 08701


10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
         Case 23-40708-mxm11                                    Doc 1         Filed 03/13/23 Entered 03/13/23 16:02:07                                                   Desc Main
                                                                             Document Page 8 of 12

B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Texas

In re        Top Sports Production LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                     $37,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                    $25,000.00

        Balance Due ................................................................................................................................................    $12,500.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        03/13/2023                                              /s/ Robert C Lane
                Date                                         Robert C Lane
                                                             Signature of Attorney
                                                                                            Bar Number: 24046263
                                                                                                The Lane Law Firm
                                                                                           6200 Savoy Dr Ste 1150
                                                                                           Houston, TX 77036-3369
                                                                                            Phone: (713) 595-8200
                                                                                               Fax: (713) 595-8201

                                                                               The Lane Law Firm
                                                            Name of law firm




                                                                 Page 2 of 2
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ADRIAN LAVERN ALLSMAN
1805 OWN CT. SUITE 109
MANSFIELD, TX 76063




CAPITAL ONE SPARK CARD
P.O. BOX 60519
CITY OF INDUSTRY, CA 91716




DIESEL FUNDING LLC
1100 NE 163RD ST SUITE 404
MIAMI, FL 33162




MAISON CAPITAL GROUP INC.
560 SYLVAN AVE STE 3020
ENGLEWOOD CLIFFS, NJ 07632




MERCURY FUNDING
60 PARK AVE.
LAKEWOOD, NJ 08701




NEWPORT PROPERTIES
ATTN: JIM TALLY
2101 BAY COVE CT
ARLINGTON, TX 76013



SHARP BUSINESS SYSTEMS
5005 LBJ FREEWAY SUITE 800
DALLAS, TX 75244




THE LANE LAW FIRM
6200 SAVOY DR STE 1150
HOUSTON, TX 77036-3369
       Case 23-40708-mxm11   Doc 1 Filed 03/13/23 Entered 03/13/23 16:02:07   Desc Main
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TOP SPORTS PRODUCTION
LLC
1805 OWEN CT. SUITE 109
MANSFIELD, TX 76063
   Case 23-40708-mxm11                      Doc 1 Filed 03/13/23 Entered 03/13/23 16:02:07                                    Desc Main
                                                 Document Page 12 of 12
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF TEXAS
                                                          FORT WORTH DIVISION

IN RE: Top Sports Production LLC                                                      CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      03/13/2023            Signature                                /s/ Adrian Allsman
                                                                        Adrian Allsman, Manager
